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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN
__________________________________________________________________________________

UNITED STATES OF AMERICA,

                                     Plaintiff,                          ORDER
       v.
                                                                      09-cr-83-slc-01
NICHOLAS HOPKINS,

                               Defendant.
_________________________________________________________________________________

       On July 9, 2009, this court held the plea and sentencing hearing in this case. The

government appeared by Assistant United States Attorney Paul Connell. Defendant Nicholas

Hopkins appeared in person and by Michael Lieberman.            The Unites States Sentencing

Guidelines did not apply because Hopkins pled guilty to a petty offense. Having considered the

the parties’ arguments, and taking into account Hopkins’s history and characteristics, as well as

the need for general deterrence and in order not to deprecate the seriousness of the offense, I

sentenced Hopkins to six months’ imprisonment consecutive to any sentence being served.

Hopkins does not need additional supervision and he cannot afford to pay a monetary fine

without impairing his ability to support himself and his family.

       Accordingly, it is ORDERED that defendant Nicholas Hopkins is to serve a sentence of

six months’ imprisonment consecutive to any sentence being served at a facility to be determined

by the Bureau of Prisons. Hopkins forthwith must pay the mandatory $10 criminal assessment

to the Clerk of Court, Western District of Wisconsin.

       Entered this 22nd day of July, 2009.

                                              BY THE COURT:

                                              /s/
                                              _______________________
                                              STEPHEN L. CROCKER
                                              Magistrate Judge
